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IZ. ATTOR.NEY'S NAME (Firsi Name, M.l., La.st Name, including any sumx) 13. COURT ORDER »éc(‘/ “ 1-

AND MAILINC _ADDRESS 0 Appoinling Counsel i:i C Co-Cnunsel 31 571
Hai'\"l€l, T C]iffOn l:] F Subs Far Federa| Dei`ender ij R Suha For Retained .»\ oriay. `
Harviel Law Off“lce \:i l’ Sllhs Fnr Panel Attnraey m Y Siandhy Colln.sei _f: j_' '

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Suife 350 Appeintment bate: ____ `/..Z\.}"‘ »_ v
MCI`l'iphlS TN 38103 i:i Beceaseihe above-named person represented has testified uoder oath or has ' v

otherwise satisfied this court that he or she {l) is financially unable to employl calnsel / s
Telephone Number: (901) 543'9799

 

(Zi does not wish tn waive counsel. and

 

    

all l '
l4. NAME AND MAlLING ADDR.ESS OF LAW FlRM (oni_yl provide perinstruations) o o

 
     
     

 

 

    

 

Signacu TiT res din_
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Date ofOrder Nunc l'ra Tunc Date

kepayment or partial repayment ordered from the person represented for this service at
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16. a. interviews and Conferences ' _
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i‘i. 'l`ravel Expenses (lodging, parking, meals, mileage. etc.)
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Joseph C. Murphy

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Honorable J on McCalla
US DISTRICT COURT

